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                            Exhibit 8
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     1            THE UNITED STATES DISTRICT COURT
     2            FOR THE NORTHERN DISTRICT OF OHIO
     3                    EASTERN DIVISION
     4                         - - -
     5
            IN RE: NATIONAL                         :    HON. DAN A.
     6      PRESCRIPTION OPIATE                     :    POLSTER
            LITIGATION                              :
     7                                              :
            APPLIES TO ALL CASES                    :    NO.
     8                                              :    1:17-MD-2804
                                                    :
     9
                         - HIGHLY CONFIDENTIAL -
    10
           SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
    11
                                          -    -    -
    12
                                 January 9, 2019
    13
                                          -    -    -
    14
    15                  Videotaped deposition of
           JINPING McCORMICK, taken pursuant to
    16     notice, was held at the offices of
           Kessler Topaz Meltzer & Check, 280 King
    17     of Prussia Road, Radnor, Pennsylvania,
           beginning at 9:13 a.m., on the above
    18     date, before Michelle L. Gray, a
           Registered Professional Reporter,
    19     Certified Shorthand Reporter, Certified
           Realtime Reporter, and Notary Public.
    20
                                        -     -    -
    21
    22               GOLKOW LITIGATION SERVICES
                  877.370.3377 ph | 917.591.5672 fax
    23                     deps@golkow.com
    24

  Golkow Litigation Services                                                 Page 1
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     1                 Q.        On various special projects?
     2                 A.        On various projects, yes.
     3                 Q.        Okay.       And were you in the
     4     marketing division?
     5                 A.        Not when I started in that
     6     position.
     7                 Q.        Okay.       Which division were
     8     you in when you started?
     9                 A.        I was not in marketing, I
    10     was just in general management.
    11                 Q.        Okay.       And when did you
    12     switch over to the marketing department
    13     at Alpharma?
    14                 A.        Six months after I started.
    15                 Q.        And what were your
    16     responsibilities in the marketing
    17     department at Alpharma?
    18                 A.        I started out as a marketing
    19     manager or product manager.
    20                 Q.        For what products?
    21                 A.        For a selection -- for
    22     wholesale products, a number of them.
    23                 Q.        Do you recall whether any of
    24     those products were opioids?
  Golkow Litigation Services                                                Page 18
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     1                 A.        I do not remember specific
     2     products at that -- now, so many years
     3     ago.
     4                 Q.        Okay.       So you don't remember
     5     any of the products that you worked on
     6     when you were at Alpharma?
     7                 A.        Just at the beginning,
     8     right?
     9                 Q.        When you were in the
    10     marketing department at Alpharma?
    11                 A.        Yeah.
    12                 Q.        Before you were with
    13     Actavis?
    14                 A.        Right.
    15                 Q.        You don't remember any of
    16     those products?
    17                 A.        I remember products.                  I just
    18     don't remember exactly what the products
    19     are at this moment, because there are so
    20     many products.             And more products were
    21     added as I -- as I progressed, because I
    22     have been there for eight years.
    23                           THE VIDEOGRAPHER:                Excuse me
    24                 one second.           Can we go off the
  Golkow Litigation Services                                                Page 19
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     1                 record for just a moment?                      Going
     2                 off record.           The time is 9:19.
     3                           (Short break.)
     4                           THE VIDEOGRAPHER:                We are
     5                 going back on record, beginning of
     6                 Media File 2.             The time is 9:26.
     7     BY MS. BAIG:
     8                 Q.        So what were the various
     9     positions that you held at Alpharma?
    10                 A.        Senior business analyst to
    11     start with, then marketing manager, and
    12     at some time post-Alpharma, the company
    13     became Actavis.
    14                 Q.        And when the company became
    15     Actavis, did that change your
    16     responsibilities at all?
    17                 A.        No.
    18                           (Document marked for
    19                 identification as Exhibit
    20                 Allergan-McCormick-1.)
    21     BY MS. BAIG:
    22                 Q.        We'll have this document
    23     marked as Exhibit 1.
    24                           This document is Bates
  Golkow Litigation Services                                                Page 20
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     1     stamped Acquired_Actavis_00588522 through
     2     588525.        And it appears to be a copy of
     3     your resumé as of August of 2012; is that
     4     right?
     5                 A.        Yes.
     6                 Q.        And is this a true and
     7     correct copy of your resumé and your
     8     accomplishments and positions held as of
     9     that time?
    10                 A.        Appears so.
    11                 Q.        And so here you have that
    12     you were working at Actavis from 2004 to
    13     the -- to the then present, 2012,
    14     correct?
    15                 A.        So I started in 2004 in
    16     Alpharma, then Alpharma became Actavis.
    17     And then I stayed with the company till
    18     the end of 2012.
    19                 Q.        Okay.
    20                 A.        Yes.
    21                 Q.        And where did you go in
    22     2012?
    23                 A.        So at the beginning of 2013
    24     I joined the company called Dr. Reddy's
  Golkow Litigation Services                                                Page 21
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     1     director.
     2                           What marketing tools did you
     3     do to try to drive those sales of generic
     4     opioid products?
     5                           MR. MAIER:           Objection to
     6                 form.
     7                           THE WITNESS:            So generic
     8                 sales typically would -- to drive
     9                 the growth of generic sales
    10                 involves a number of factors.
    11                           One of them is really
    12                 gaining the distribution at
    13                 wholesalers, distributors, retail
    14                 chains.
    15                           And second, is by lowering
    16                 the cost, working with the
    17                 production team.               And to gain that
    18                 distribution or market share at
    19                 our customers require us to, you
    20                 know, be a good supplier which
    21                 means a good consistent supply, as
    22                 well as competitive price.
    23     BY MS. BAIG:
    24                 Q.        So, but you were the
  Golkow Litigation Services                                              Page 111
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     1     director of marketing.                   My question to
     2     you is, what marketing tools did you use
     3     to try to drive sales?
     4                           We've talked about a few.
     5     We talked about sizzle slides, for
     6     example.         We've talked about meetings
     7     that you've had with the customers.
     8                           What -- we've talked about
     9     -- your use of ad agencies.
    10                           What other types of tools
    11     did you drive -- did you use to try to
    12     drive sales?
    13                 A.        So --
    14                           MR. KNAPP:           Objection to
    15                 form and foundation.
    16                           MS. VENTURA:            Objection to
    17                 form.
    18                           MR. MAIER:           Objection to
    19                 form.
    20                           THE WITNESS:            So to drive
    21                 sales -- the generic marketing
    22                 really is different from, if you
    23                 were to think about the consumer
    24                 goods or the brand marketing.
  Golkow Litigation Services                                              Page 112
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     1                           Generic marketing is so much
     2                 about product management which
     3                 means to supply -- to make the
     4                 medicine available, accessible and
     5                 affordable with good service and
     6                 supply to the customers.
     7                           So this notion of
     8                 advertising that drives it is --
     9                 is such a minor component of
    10                 generic marketing.
    11     BY MS. BAIG:
    12                 Q.        But you did hire an
    13     advertising agency.
    14                 A.        Yeah.       That's why it's a
    15     small one.
    16                 Q.        Okay.       And did you use
    17     Kadian sales reps to detail generic
    18     opioids to doctors?
    19                           MS. VENTURA:            Objection to
    20                 form.
    21                           THE WITNESS:            We did not
    22                 hire the Kadian sales rep to
    23                 detail the generic opioids.
    24     BY MS. BAIG:
  Golkow Litigation Services                                              Page 113
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     1                 Q.         No.     Did you use them
     2     though, is my question.
     3                 A.         We --
     4                            MR. KNAPP:          Please just let
     5                 the witness finish.                  I think she
     6                 was still answering the question.
     7                            MS. VENTURA:            And objection
     8                 to form.
     9                            THE WITNESS:            So we used
    10                 them just to make the doctors
    11                 aware that generic products on
    12                 very select cases was available.
    13                 They were not detailing any
    14                 benefit of the -- the medicine.
    15     BY MS. BAIG:
    16                 Q.         And who trained the Kadian
    17     sales reps on what they were to say about
    18     generic opioids when they were visiting
    19     doctors?
    20                 A.         I mean there was sales team,
    21     there was training from marketing and
    22     legal.        I don't remember exactly who
    23     trained them.             But they were properly
    24     trained.
   Golkow Litigation Services                                              Page 114
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     1                 Q.         They were what?
     2                 A.         They were properly trained.
     3                 Q.         Well, were you at the
     4     training?
     5                 A.         I was not.
     6                 Q.         So you weren't involved in
     7     training -- in training the sales reps?
     8                 A.         I was involved in the
     9     material used to train them.
    10                 Q.         What were the materials used
    11     to train them?
    12                 A.         I -- it's really just to let
    13     them know the -- what they could or could
    14     not say.          It really was about the
    15     availability of the generic product.
    16                 Q.         And do you know when the
    17     company started using Kadian sales reps
    18     to market generic opioids?
    19                            MS. VENTURA:            Objection to
    20                 form.
    21                            THE WITNESS:            It was only on
    22                 the very selective cases, like
    23                 oxymorphone and the generic
    24                 Kadian.         So, morphine sulfate.
   Golkow Litigation Services                                              Page 115
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     1                 Q.         Did you have a general
     2     understanding that sales were increasing
     3     in a significant amount at that time?
     4                            MR. MAIER:          Objection to
     5                 form.
     6                            THE WITNESS:            It should be,
     7                 because July was launching.                       When
     8                 you launch, this is four-month,
     9                 six-month after launch, it should
    10                 be increasing.
    11     BY MS. BAIG:
    12                 Q.         Okay.       And you see a little
    13     bit further down, it states that "the
    14     marketing group is once again utilizing
    15     the Kadian sales force to promote
    16     oxymorphone to pain doctors, as well as
    17     running both direct mail and e-mail
    18     promotional programs in January and
    19     February."
    20                            Do you see that?
    21                 A.         Yes.
    22                 Q.         And he states, "Our goal is
    23     to continue the growth trend through
    24     2012."
   Golkow Litigation Services                                              Page 257
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     1                            Do you see that?
     2                 A.         Yes.
     3                 Q.         And was it your
     4     understanding that the marketing group
     5     was utilizing the Kadian sales force to
     6     promote oxymorphone to pain doctors?
     7                            MR. MAIER:          Objection to
     8                 form.
     9                            THE WITNESS:            Yes.      I was
    10                 aware to promote.                I think we want
    11                 to clarify that promote, really
    12                 just to make it aware of the
    13                 availability of this product, as
    14                 those marketing material we had
    15                 reviewed earlier.
    16     BY MS. BAIG:
    17                 Q.         And that -- and you are also
    18     running both direct mail and e-mail
    19     promotional programs, correct?
    20                 A.         Yes.      So all of these
    21     programs were just awareness program.                               It
    22     wasn't promoting the product on any of
    23     the benefits or anything.
    24                 Q.         Did you have an
   Golkow Litigation Services                                              Page 258
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     1     understanding of the addictive qualities
     2     of the product at the time?
     3                            MR. MAIER:          Objection to
     4                 form.
     5                            THE WITNESS:            So product
     6                 being Schedule II has addictive
     7                 potential.
     8     BY MS. BAIG:
     9                 Q.         And do you know whether the
    10     Kadian sales force was promoting the
    11     awareness of the addictive qualities of
    12     oxymorphone to pain doctors?
    13                            MR. MAIER:          Object to form
    14                 and foundation.
    15                            MS. VENTURA:            Join in the
    16                 objection.
    17                            THE WITNESS:            What we asked
    18                 Kadian sales force was just
    19                 awareness campaign to the doctors,
    20                 so they are aware, so they -- the
    21                 doctors were aware of the ability
    22                 of the generic because the --
    23                 because Opana ER was discontinued.
    24     BY MS. BAIG:
   Golkow Litigation Services                                              Page 259
